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                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NEW YORK
_________________________________________

WILLIAM HOWELL                                                      Civil Action No.: 6:16-cv-6117

               Plaintiff,

       v.

CORRECTIONAL MEDICAL CARE, INC.
et al.

            Defendants.
_________________________________________

      AFFIRMATION IN SUPPORT OF MOTION TO COMPEL RESPONSES TO
       DISCOVERY DEMANDS BY THE CORRECTIONAL MEDICAL CARE
      DEFENDANTS, AND FOR ADJUSTMENT TO THE SCHEDULING ORDER


       Elmer Robert Keach, III, Esquire, an attorney duly licensed to practice law before the

Courts of the State of New York and before this Honorable Court, hereby affirms as follows under

penalty of perjury:

       1.      I am counsel for the Plaintiff in this action, and as such, am fully familiar with the

facts and circumstances underlying this proceeding. I provide this affirmation in support of

Plaintiff’s Motion to Compel a response from all Defendants, with the exception of Defendant Ali,

to his various discovery demands. The Plaintiff also seeks an extension of the scheduling order in

this case. For the reasons that follow, the Court should grant this motion.

       2.      By way of background, the Plaintiff in this case has suffered life-changing and

irreversible permanent injuries as a result of the deliberate indifference demonstrated to him by

the Defendants in this case. At all relevant times, the Plaintiff was a detainee at the Monroe County

Jail. Shortly after his admission, the Plaintiff suffered from unresolved diarrhea. The Defendants

prescribed the Plaintiff what was believed to be diarrhea medication. In fact, the Plaintiff was given

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the toxic amounts of the wrong medication, including psychotropic and cough medications. Over

the course of several weeks, the Plaintiff’s condition rapidly deteriorated, and he began to suffer

from weakness, fatigue, chills, sweats, and extreme diarrhea. Despite observing Mr. Howell’s

declining condition, no medical providers made an attempt to determine what was causing these

symptoms, hospitalize or send the plaintiff to a specialist.

       3.      Eventually, it was discovered that Mr. Howell had been given the wrong

medication. Rather than immediately hospitalize the Plaintiff, his medications were merely

discontinued. No effort was made to determine how Plaintiff had been effected by the toxic doses

of wrong medication he had been receiving. Shortly after his medication was discontinued, the

Plaintiff exhibited symptoms of complete incoherence and delirium. Despite observing these

symptoms, it still took medical providers another 24 hours to hospitalize the Plaintiff, and only did

so, when he lost consciousness. The Defendants also failed to inform the hospital that they had

provided the Plaintiff with the wrong medication, and they spent several days trying to determine

what was causing the Plaintiff’s symptoms. The Plaintiff now suffers from permanent brain

damage, among other injuries to various organs. The Defendants’ deliberate indifference to

Plaintiff’s serious medical needs is obvious.

       4.      Now, the Plaintiff files this Motion to Compel and to modify the scheduling order.

To date, only the Plaintiff and Defendant Ali have exchanged document discovery. Defendant

Ali’s responses to Plaintiff’s discovery demands were understandably short, as he is an individual

medical defendant that does not have access to the range of documents the Plaintiff is seeking.

The Plaintiff recent responded to Defendant Ali’s demands, providing very little information

because they had not received any substantive information from Defendant Correctional Medical




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Care. The remaining Defendants (“Defendants”) have yet to respond to the Plaintiff and Ali’s

demands. Plaintiff’s demands have been outstanding since July 2016.

       5.      A copy of the Plaintiff’s Discovery Demands are attached hereto as Exhibit A.

       6.      As is evident from the attached emails, the Defendants have been promising to

provide document responses since December 2016. These various emailed promises are

summarized below:

       Exhibit B      December 29, 2016

               “I will check our file to ascertain whether we have anything outstanding.”

       Exhibit C      March 3, 2017

               “Will get working on this immediately.”

       Exhibit D      April 3, 2017

               “I’ll have responses tomorrow. Will be in EBTs all day today. Thanks for your
               patience.”

These emails are in additional to my repeated calls to the Defendants’ counsel requesting

compliance with the Plaintiff’s discovery demands.

       7.      Most recently, the Defendants indicated that they would be providing responses to

the Plaintiff’s demands this Friday, April 28, 2017. However, given the impending deadlines to

provide expert disclosures (May 1, 2017), to complete discovery (May 31, 2017) and to complete

expert discovery (June 30, 2017), the plaintiff cannot justify waiting any longer. In fact, the

Plaintiff should have sought the court’s assistance months ago.

       8.      The Plaintiff notes for the Court that the failure to provide these discovery

responses has interfered with the Court ordered mediation in this case. The parties initially spoke

with the mediator by phone, and were scheduled to recommence the mediation after receiving

discovery responses from Correctional Medical Care. As these responses were not forthcoming,

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no meaningful mediation was conducted. The Plaintiff will leave to the Court’s discretion whether

or not to require a renewed mediation.

       9.      The Plaintiff does not seek costs for making this application. They simply seek the

Court’s assistance to move this action forward, and an adjustment of the scheduling order.

       10.     For these reasons, and those detailed in the accompanying memorandum of law,

the Plaintiff respectfully requests that the Court compel all Defendants, with the exception of

Plaintiff Shalid Ali, to provide responses to the Plaintiff’s demands, and also modify the

scheduling order to allow the parties additional time to meet the remaining pre-trial deadlines.

       8.      The Plaintiff thanks the Court for its consideration of this motion.

                                                     Respectfully Submitted By:

                                                     /s Elmer Robert Keach, III

Dated: April 27, 2017                                _____________________________
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